                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


ONSOMBLE, INC.,

      Plaintiff,

vs.                                                         Case No. 3:16-CV-0493
                                                            Judge Campbell
MARIA O’ROURKE,                                             Magistrate Judge Bryant

   Defendant.
____________________________________/



                       NOTICE OF FACTUAL CLARIFICATION
                    REGARDING ORDER ON MOTION TO TRANSFER

          Defendant Maria O’Rourke (“O’Rourke”), by and through her counsel, hereby gives

notice of a factual clarification regarding this Court’s June 2, 2016 Memorandum (Doc. 27) and

Order (Doc. 28) on O’Rourke’s Motion to Transfer (Doc. 14) this case to the Northern District of

California. It is factually incorrect that O’Rourke has a pending case in the Northern District of

California. Rather, O’Rourke has a case that was initial filed in California state court in Marin

County against OnSomble, Inc., that during the pendency of the Motion to Transfer was itself

transferred to California state court in Los Angeles. While O’Rourke still believes transfer of

this case to the Northern District of California is proper, we wanted to promptly inform the Court

of this factual issue so that it can take whatever steps it deems just and proper in relation to the

Motion to Transfer.

                                                    Respectfully submitted,

                                                    AARON & SANDERS PLLC

                                                    s/ Paul R. McAdoo
                                                    Richard G. Sanders



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing is being electronically

filed and will be furnished via CM/ECF on this 3rd day of June, 2016, to:

       John Tennyson
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                                                    s/ Paul R. McAdoo
                                                    Attorney




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